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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
v.                                               §
                                                 §          CRIMINAL NO. W-04-CR-128(1)
MARIA GUADALUPE FONCECA,                         §
Defendant.                                       §
                                                 §

                                           ORDER

       Before the Court is Movant Maria Fonceca’s Motion to Reduce Sentence pursuant to 18

U.S.C. § 3582(c)(1)(A)(i), (ECF No. 154), the Government’s Response (ECF No. 160), and

Fonceca’s Reply (ECF No. 163). After consideration of these pleadings and the applicable legal

authority, the Motion is DENIED.

                                        I. Background

       On June 8, 2004, Fonceca was indicted for conspiracy to possess with intent to distribute

in excess of 500 grams of methamphetamine, a schedule II controlled substance (Count One) and

conspiracy to commit money laundering (Count Two). ECF No. 152. A jury convicted Fonceca of

both offenses on June 24, 2005. ECF No. 86. On September 2, 2005, Fonceca was sentenced on

Count One to 294 months’ imprisonment followed by 10 years of supervised release. ECF No. 98.

On Count Two, Fonceca was sentenced to 240 months followed by 3 years of supervised release.

Id. The imprisonment and the supervised release on both counts are to be served concurrently. Id.

The judgment and sentence of the Court was affirmed on March 19, 2007 by the United States

Court of Appeals for the Fifth Circuit. ECF No. 118.

       On March 15, 2015, Fonceca filed a Motion of Reduce Sentence under USSC Amendment

782. ECF No. 142. District Judge Walter Smith denied a reduction under Amendment 782, as
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Fonceca’s amended sentencing guideline range was the same as her original guideline range, and

therefore she was not entitled a sentence reduction. ECF No. 143.

       On May 22, 2020, Fonceca, through counsel, made a request to the Warden of her facility

for compassionate release. ECF No. 154, Exhibit C. The request was denied on June 4, 2020. Id.

at Exhibit D. On July 23, 2020, Fonceca, through counsel, filed the Motion to reduce her sentence

pursuant to the First Step Act. The Government filed a response to the Motion and Fonceca filed

a reply. The Motion is now ripe for the Court. Fonceca has served about 245 months of her

sentence, with a scheduled release date of May 25, 2025. ECF No. 160.

       This conspiracy Fonceca was convicted of stretched between southern California and

Texas, involving numerous conspirators, copious amounts of methamphetamine, and many

financial transactions. ECF No. 160 at 1. Movant and her brother, who lived in southern California,

were suppliers of large quantities of methamphetamine to distributors in the Dallas area. Id.

Defendant normally supplied ten pounds of methamphetamine at a time and did so on at least

fourteen different occasions. Id. at 2. She directed others to transport the methamphetamine and

collect drug proceeds on her behalf and directed others to sell product, which belonged to her, in

Texas. Id. Fonceca was responsible for the distribution of 140 pounds of methamphetamine and

the laundering of $700,000 in drug proceeds. Id.

       This drug-trafficking offense was not her first. Fonceca was convicted of two felony drug

offenses in California in 1993 and was sentenced to four years’ imprisonment. ECF No. 160 at 2.

Because she had previously been convicted of a felony drug offense, her mandatory minimum

sentence was enhanced from 10 to 20 years’ imprisonment. Id. At the time of the arrest leading to

her current sentence, she was a fugitive from removal proceedings, having made bond and failed




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to appear at her hearing. Id. She was also wanted on a felony drug offense from Orange County,

California. Id.

       In addition, Fonceca has been convicted of another federal drug-conspiracy charge in the

Central District of California for which she received 168 months to run concurrently with her

sentence in this case. ECF No. 160 at Exhibit 1.

                                 II. BOP Response to COVID-19

       In response to the COVID-19 pandemic, the BOP modified its operations plan to protect

the health of inmates at BOP facilities. ECF No. 160. Under this plan, BOP is limiting inmate

movement to maximize social distancing; screening inmates involved in certain essential group

activities; isolating and testing symptomatic inmates potentially exposed to the virus; and

quarantining asymptomatic inmates potentially exposed. Id. BOP is also testing new inmates and

limiting movement between facilities (with exceptions for needed medical treatment, legal

proceedings, and reducing overcrowding). Id. BOP has suspended official staff travel and

training (except for relocation travel and training for new staff) and has limited contractors to

those providing essential services. Id. Screening for staff and contractors entering BOP facilities

includes temperature checks and self-reporting. Id.

       BOP is also designating prisoners who pose the least threat to the community to serve

their terms of imprisonment in home confinement. ECF No. 160. Home confinement is not a

sentence reduction; instead, BOP designates an inmate’s residence as the place he or she will

serve a term of imprisonment. Id., see 18 U.S.C. § 3624(c)(2); 34 U.S.C. § 60541. Under the

Coronavirus Aid, Relief, and Economic Security Act (CARES Act), BOP may now “lengthen the

maximum amount of time for which the Director is authorized to place a prisoner in home

confinement.” CARES Act, Pub. L. No. 116-136, § 12003, 134 Stat. 281, 516 (2020). The




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Attorney General has directed that BOP prioritize and maximize transfers to home confinement

of inmates vulnerable to COVID-19 in appropriate circumstances. ECF No. 160. BOP is

devoting all available resources to carrying out that directive. Id. As of this Order, BOP has

transferred 7,622 inmates to home confinement. Id. However, BOP reports that the agency has

decided not to place Defendant in home confinement because she is a citizen of Mexico and will

be removed upon her release from prison. Id.

                                       III. Legal Standard

       In 2018, Congress enacted the First Step Act (“FSA”). The FSA contains a compassionate

release statute that grants sentencing courts authority to reduce an otherwise final term of

imprisonment for “extraordinary and compelling reasons.” 18 U.S.C. § 3582(c)(1)(A)(i). The

statute provides:

       (1) in any case—

                (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative rights
       to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s behalf or
       the lapse of 30 days from the receipt of such a request by the warden of the defendant’s
       facility, whichever is earlier, may reduce the term of imprisonment (and may impose a
       term of probation or supervised release with or without conditions that does not exceed
       the unserved portion of the original term of imprisonment), after considering the factors
       set forth in section 3553(a) to the extent that they are applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a reduction; . . .

       *****

       and that such a reduction is consistent with applicable policy statements issued by the
       Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A) (emphasis added).

       The applicable policy statement, Section 1B1.13 of the Sentencing Guidelines, in turn

requires that “the defendant is not a danger to the safety of any other person or to the community,




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as provided in 18 U.S.C. § 3142(g).” USSG § 1B1.13(2). Section 3142(g) directs a court to

consider factors such as the nature and circumstances of the defendant’s offense and the

defendant’s history and characteristics. 18 U.S.C. § 3142(g).

       The Sentencing Commission has issued a policy statement addressing the reduction of

sentences under § 3582(c)(1)(A). As relevant here, the policy statement provides that a court

may reduce the term of imprisonment after considering the § 3553(a) factors if the Court finds

that (i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is not a

danger to the safety of any other person or the community, as provided in 18 U.S.C. § 3142(g);”

and (iii) “the reduction is consistent with this policy statement.” USSG § 1B1.13.2.

       The policy statement includes an application note that specifies the types of medical

conditions that qualify as “extraordinary and compelling reasons.” First, that standard is met if

the defendant is “suffering from a terminal illness,” such as “metastatic solid-tumor cancer,

amyotrophic lateral sclerosis (ALS), end-stage organ disease, [or] advanced dementia.” USSG §

1B1.13, cmt. n.1(A)(i). Second, the standard is met if the defendant is:

       (I)     suffering from a serious physical or medical condition,

       (II)    suffering from a serious functional or cognitive impairment, or

       (III)   experiencing deteriorating physical or mental health because of the aging process,
               that substantially diminishes the ability of the defendant to provide self-care
               within the environment of a correctional facility and from which he or she is not
               expected to recover.

USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other conditions and

characteristics that qualify as “extraordinary and compelling reasons” related to the defendant's

age and family circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes that

the BOP has the discretion to identify other grounds that amount to “extraordinary and

compelling reasons.” USSG § 1B1.13, cmt. n.1(D).



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                                         IV. Discussion

       When asking for a sentence reduction under the compassionate release section of the First

Step Act, the movant must establish that both 1) there is “extraordinary and compelling reason;”

and 2) that a reduction is warranted in light of the danger that she would pose to the community

and the relevant § 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A). In its response to Fonceca’s

Motion, the Government argues that Fonceca is not eligible for sentence reduction under the First

Step Act for two reasons. ECF No. 160 at 1. First, the Government claims that Fonceca has failed

to show she is not a danger to another person or the community. Id. Second, the Government argues

that Fonceca has failed to show that the statutory sentencing factors in 18 U.S.C. § 3553(a) would

support a sentence reduction. Id. In the alternative, the Government asks the court to impose a

quarantine period before release. Id. at 10. As explained below, the Court denies Fonceca's request

to reduce her 294-month incarceration.

   A. Fonceca has failed to establish she is not a danger to others or the community.

       For this Court to determine that it should grant a sentence reduction, it must determine that

the defendant “is not a danger to the safety of any other person or the community.” USSG §

1B1.13(2). Danger to the community exists even in the absence of physical acts of violence. Drug

dealing, in the context of 3142(g), is a danger to the community. United States v. Perry, 788 F2d

100, 113 (3d Cir. 1986); United States v. Williams, 753 F.2d 329, 335 (4th Cir. 1985).

       As discussed above, Fonceca was convicted of trafficking 140 pounds of

methamphetamine. The drug trafficking operation stretched from California to Texas and spanned

several months. Fonceca supplied ten pounds of methamphetamine to others on at least 14 different

occasions and instructed them to transport and sell the product in Texas. Additionally, this was not




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Fonceca’s first drug related offense. In 1993, Fonceca was convicted of two felony drug offenses

in 1993 and served a four-year sentence.

       The Defendant argues that she only began selling drugs the first “out of desperation and to

help others.” ECF No. 163 at 4. Yet the Defendant reoffended just a few years later. Id. This does

not reassure the Court that Fonceca will not be a danger to the community if she is released. In

light of Fonceca’s repeated drug offenses and the size of the drug trafficking operation she

participated in, the Court finds that Fonceca remains a threat to others and the community.

   B. Fonceca has failed to show that the 18 U.S.C. § 3553(a) factors support a sentence
      reduction.

       This Court must also consider whether the sentencing factors in 18 U.S.C. § 3553(a)

warrant a sentence reduction. See 18 U.S.C. § 3582(c)(1)(A); USSG § 1B1.13; United States v.

Chambliss, 948 F.3d 691, 694 (5th Cir. 2020). These factors include: the nature and circumstances

of the offense and the history and characteristics of the defendant; the need for the sentence

imposed to reflect the seriousness of the offense; to afford adequate deterrence to criminal conduct;

to protect the public from further crimes of the defendant; to provide the defendant with needed

educational or vocational training, or medical care in the most effective manner; and the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct. See 18 U.S.C. § 3553(a).

       Several of these factors overlap with the previous discussion about whether the Defendant

poses a danger to others or the community, which the Court has already decided. Fonceca has

repeat drug offenses and was responsible for the trafficking of at least 140 pounds of

methamphetamine. For these reasons Fonceca is still a threat to others and the community.

       As for the other factors, they do not warrant a reduction in Fonceca’s sentence. Fonceca is

currently receiving medical care of her aliments and has not established a release plan that would



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provide superior medical care than what she is currently receiving. Additionally, Fonceca’s

mandatory minimum sentence is 20 years imprisonment. If she were to be released now, she would

serve less than the minimum required by statute. Finally, if the Defendant were to be released and

not serve her minimum sentence, that would create a disparity against              similarly situated

defendants.

       In conclusion, Fonceca has failed to show that the sentencing factors in § 3553(a) support

the reduced sentence she seeks.

                                          IV. Conclusion

       Having considered 18 U.S.C. § 3582(c)(1)(A)(i), USSG § 1B1.13(2), and 18 U.S.C.

§ 3553(a), the Court finds that a sentence reduction is not appropriate in Fonceca’s case.

Accordingly, it is hereby ORDERED as follows:

           1) Defendant Maria Fonceca’s Motion to Reduce Sentence is DENIED; and

           2) Any pro se motion(s) that the Defendant filed under the First Step Act prior to the
              date of this Order is/are dismissed as moot in light of the relief granted in this Order.

SIGNED this 1st day of June, 2021.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




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